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The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 17, 2020
                                            United States Bankruptcy Judge
  ______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     In re:                                                       §
                                                                  §      Case No. 19-32841-hdh
     DOUGHERTY’S HOLDINGS, INC., et al.,1                         §
                                                                  §      Chapter 11
              Debtors.                                            §      Jointly Administered

                        ORDER GRANTING PRONSKE & KATHMAN, P.C.’S
                    FIRST AND FINAL FEE APPLICATION FOR COMPENSATION
                           AND FOR REIMBURSEMENT OF EXPENSES

              Upon consideration of the First and Final Fee Application for Compensation and for

     Reimbursement of Expenses (the “Fee Application”) [Docket No. 211] filed by Pronske &

     Kathman, P.C. (“P&K”), in its capacity as counsel for the Debtors, and the record developed at

     the hearing on the Fee Application, this Court finds that good cause exists for entry of this Order

     and concludes that such Fee Application should be granted on a final basis, that Application has



     1
      The Debtors in these Chapter 11 cases, together with the last four digits of each Debtors’ federal tax identifications
     number, are as follows: Dougherty’s Holdings, Inc. (4393), Dougherty’s Pharmacy, Inc. [Texas] (3187), Dougherty’s
     Pharmacy Forest Park, LLC (6490); Dougherty’s Pharmacy McAlester, LLC (1758); Dougherty’s Pharmacy, Inc
     [Delaware] (0905). The mailing address for the Debtors, solely for purposes of notices and communications, is: 5959
     Royal Lane, Suite 515, Dallas, Texas 75230, with copies to Pronske & Kathman, P.C., c/o Gerrit M. Pronske, 2701
     Dallas Parkway, Suite 590, Plano, Texas 75093.

     ORDER GRANTING PRONSKE & KATHMAN, P.C.’S FIRST AND FINAL FEE APPLICATION FOR
     COMPENSATION AND FOR REIMBURSEMENT OF EXPENSES - PAGE 1 OF 2
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not represented any person or party other than the Debtors in any matter arising in or in any way

related to this bankruptcy proceeding, that the fees approved herein were reasonable and necessary

as required under 11 U.S.C. § 330, and that good cause exists for entry of this Order as set forth

below. It is therefore,

        ORDERED that the Fee Application is GRANTED on a final basis in the total sum of

$247,242.34, which amount represents total allowed fees for services rendered in the amount of

$225,464.00 and total reimbursable expenses in the amount of $21,778.34; and it is further

        ORDERED that the Debtors are authorized to pay outstanding fees and expenses in the

amount of $3,771.14 to Applicant within ten (10) days of the entry of this Order.

                                     # # # END OF ORDER # # #

PREPARED BY:

Gerrit M. Pronske
State Bar No. 16351640
Jason P. Kathman
State Bar No. 24070036
PRONSKE & KATHMAN, P.C.
2701 Dallas Parkway, Suite 590
Plano, Texas 75093
(214) 658-6500 - Telephone
(214) 658-6509 – Telecopier
Email: gpronske@pronskepc.com
Email: jkathman@pronskepc.com

COUNSEL FOR THE DEBTOR
AND DEBTOR-IN-POSSESSION




ORDER GRANTING PRONSKE & KATHMAN, P.C.’S FIRST AND FINAL FEE APPLICATION FOR
COMPENSATION AND FOR REIMBURSEMENT OF EXPENSES - PAGE 2 OF 2
